         Case 2:22-cv-05523-GRB-ST Document 7 Filed 09/16/22 Page 1 of 2 PageID #: 42

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New   York
                                                                             __________

                CHENGXUE SUN,                                        )
  on her own behalf and on behalf of others similarly                )
                      situated                                       )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 22-cv-05523-GRB-ST
                                                                     )
                 NEW G NAILS & SPA INC                               )
                   d/b/a G Nails & Spa.                              )
                    See Attached Rider                               )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See Rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: TROY LAW, PLLC
                                           41-25 Kissena Blvd, Suite 103
                                           Flushing, NY 11355
                                           Tel: (718) 762-13



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//"#.")0/&:
                                                                               CLERK OF COURT


Date:      09/16/2022
                                                                                          SSignature off Cl
                                                                                                         Clerkk or Deputy Clerk
Case 2:22-cv-05523-GRB-ST Document 7 Filed 09/16/22 Page 2 of 2 PageID #: 43




                            Defendants’ Name with Address

NEW G NAILS & SPA INC d/b/a G Nails & Spa
20 W Main St, Babylon, NY, 11702


MINGDA LIU a/k/a Ming Da Liu
20 W Main St, Babylon, NY, 11702

LINGYAN GAO a/k/a Ling Yan Gao
20 W Main St, Babylon, NY, 11702




                             CHENGXUE SUN v.
                 NEW G NAILS & SPA INC d/b/a G Nails & Spa, et al.

                                   Summons Rider
